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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                             INDIANAPOLIS DIVISION

INDIANA GREEN PARTY, et al.                 )
                                            )
       Plaintiffs,                          )      Case No. 1:22-cv-00518-JRS-DML
                                            )
              v.                            )
                                            )
HOLLI SULLIVAN, in her official             )
capacity as Indiana Secretary of State,     )
                                            )
       Defendant.                           )

                        DEFENDANT’S MOTION TO DISMISS

       Defendant, Indiana Secretary of State Holli Sullivan, by counsel, respectfully asks

the Court to dismiss Plaintiffs’ complaint for declaratory and permanent injunctive relief

under Rule 12(b)(6) of the Federal Rules of Civil Procedure and states the following in

support:

       1.     Plaintiffs have challenged Indiana’s petition requirements for minor

political parties and independent candidates to qualify for a general election ballot and

remain on the ballot in a future general election as unconstitutional under the First and

Fourteenth Amendments to the United States Constitution.

       2.     Plaintiffs, however, fail to state a claim upon which relief can be granted

because Indiana’s requirements for minor political parties and independent candidates to

file a petition of nomination signed by the number of voters equal to two percent of the

total vote cast at the last election for secretary of state, and to obtain more than two

percent of the vote for secretary of state to retain ballot access for the next general

election, are constitutional as a matter of law. See, e.g., Hall v. Simcox, 766 F.2d 1171 (7th




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Cir. 1985); Jenness v. Fortson, 403 U.S. 431 (1971); American Party of Texas v. White, 415 U.S.

767 (1974).

       3.     Because the challenged ballot access requirements are constitutional as a

matter of law under both the First and Fourteenth Amendments, the Court should

dismiss Plaintiffs’ complaint.

       4.     Defendant is contemporaneously filing a brief in support of this motion as

required by Local Rule 7-1(b)(1).

       WHEREFORE, the Indiana Secretary of State, in her official capacity,

respectfully requests the Court dismiss the Plaintiffs’ complaint and grant all other just

and proper relief.

                                                   Respectfully submitted,

                                                   THEODORE E. ROKITA
                                                   INDIANA ATTORNEY GENERAL

                                            By:    /s/ Courtney L. Abshire
                                                   Courtney L. Abshire
                                                   Deputy Attorney General


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